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              CAMMARATA & DE MEYER P.C.
                                       ATTORNEYS AT LAW
                              456 ARLENE STREET, STATEN ISLAND, NY 10314


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FLORIDA

SUZANNE M. DE MEYER
NEW YORK
NEW JERSEY




                                                       November 21, 2024


 Via ECF
 Hon. Lewis J. Liman
 United States District Judge
 Daniel Patrick Moynihan United States Courthouse
 500 Pearl Street
 New York, New York 10007

 Re:     Freeman et al. v. Giuliani, 24-mc-00353-LJL
 Dear Judge Liman:

         We represent Defendant Rudolph W. Giuliani (“Defendant”) in the above action.
 Annexed hereto is a copy of the responses to the information subpoenas, for Maria Ryan, Theodore
 Goodman, and Ryan Medrano, which were provided to Plaintiffs counsel. As transmitted earlier
 to the Court via letter, I was recently retained on Friday November 15, 2024, by the Defendant. I
 am working diligently to organize and remit responses to subpoenas and discovery.


         Thank you very much,

                                                       Respectfully Submitted,


                                                       Joseph Cammarata
                                                       Joseph M. Cammarata
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                                     IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF NEW YORK


            RUBY FREEMAN and W ANDREA' MOSS,

                                                Plaintiffs,                           No. 24-mc-353

             V.                                                           INFORMATION SUBPOENA
                                                                         WITH RESTRAINING NOTICE
             RUDOLPH W. GIULIANI,                                     PURSUANT TO CPLR §§ 5222 AND 5224
                                                Defendant.


             To:      Maria Ryan
                      418 Walnut Street
                      Manchester, NH 03104-2543

                      WHEREAS, on December 18, 2023, in an action in the United States District Court for

             the District of Columbia, between Ruby Freeman and W andrea' ArShaye Moss, plaintiffs

             ("Judgment Creditors"), and Rudolph W. Giuliani, defendant ("Judgment Debtor"), a judgment

             (the "Judgment") was entered in favor of Ruby Freeman and Wandrea' ArShaye Moss against

             Rudolph W. Giuliani for the sum of $146,206,113.00 plus post-judgment interest, to wit:

             $145,969,000.00, together with interest at the rate of 5.01 % per annum from December 18, 2023;

             $89,172.50, together with interest at the rate of 5.33% per annum from July 25, 2023; $43,684.00,

             together with interest at the rate of 5.42% per annum from September 20, 2023; and $104,256.50,

             together with interest at the rate of 5.46% per annum from October 6, 2023;

                      WHEREAS, the sum of $146,206,113.00 and interest is still due to satisfy that Judgment;

                      WHEREAS, a certified copy of the Judgment was registered in the United States District

             Court for the Southern District of New York pursuant to 28 U.S.C. § 1963 which provides that a

             'Judgment so registered shall have the same effect as a judgment of the district court of the district

             where registered and may be enforced in like manner";
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                     WHEREAS, the provisions of Article 52 of the New York Civil Practice Law and Rules

             ("CPLR") are applicable to the above-captioned proceeding pursuant to Federal Rule of Civil

             Procedure 69(a);

                     NOW, THEREFORE WE COMMAND YOU, pursuant to CPLR 5224(a)(3), that you

             answer in writing under oath, separately and fully, each question in the questionnaire

             accompanying the subpoena, each answer referring to the question to which it responds; and that

             you return the answers together with the original questions within 7 days of your receipt of the

             questions and this subpoena.

                     TAKE FURTHER NOTICE, that false swearing or failure to comply with this subpoena

             is punishable as a contempt of court.

                                                 CPLR 5224(a)(3)(i) Certification

                  I HEREBY CERTIFY THAT THIS INFORMATION SUBPOENA COMPLIES WITH
             RULE 5224 OF THE CIVIL PRACTICE LAW AND RULES AND SECTION 601 OF THE
             GENERAL BUSINESS LAW THAT I HAVE A REASONABLE BELIEF THAT THE PARTY
             RECEIVING THIS SUBPOENA HAS IN THEIR POSSESSION INFORMATION ABOUT THE
             DEBTOR THAT WILL ASSIST THE CREDITOR IN COLLECTING THE JUDGMENT.

                                                      [Signature Page Follows]




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              Dated: August 5, 2024
              New York, New York

             John Langford
             Rachel Goodman                                       M. Annie Houghton-Larsen
             UNITED TO PROTECT DEMOCRACY                          WILLKIE FARR & GALLAGHER LLP
             82 Nassau Street, #601                               787 Seventh Avenue
             New York, NY 10038                                   New York, NY 10019
             Tel: (202) 579-4582                                  Tel: (212) 728-8000
             j ohn.langford@protectdemocracy.org                  anathan@willkie.com
             rachel.goodman@protectdemocracy.org                  mhoughton-larsen@willkie.com

              VonDuBose                                           Michael J. Gottlieb
              DUBOSE MILLER LLC                                   Meryl C. Governski
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                                                                  mgovernski@willkie.com


                                   Attorneys for Plaintiffs Ruby Freeman and Wandrea' Moss




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                                                RESTRAINING NOTICE

                   WHEREAS, you may be in possession of property in which the Judgment Debtor has an

           interest;

                   TAKE NOTICE, that, pursuant to subdivision (b) of Section 5222 of the Civil Practice

           Law and Rules, which is set forth in full herein, you are hereby forbidden to make or suffer any

           sale, assignment or transfer of, or any interference with, any such property or pay over or otherwise

           dispose of any such property, except upon direction of the sheriff or pursuant to an order of the

           court, until the judgment or order is satisfied or vacated; and

                   TAKE FURTHER NOTICE, that this restraining notice covers ALL PROPERTY in

           your possession or custody in which you know or have reason to believe the judgment debtor has

            an interest, and all such property hereafter coming into your custody or possession, and all debts

            due from you to the judgment debtor and hereafter coming due from you to the judgment debtor;

            and

                   TAKE FURTHER NOTICE, that failure to comply with this restraining notice is

           punishable as a contempt of court.

                                        CIVIL PRACTICE LAW AND RULES

           Section 5222(b) Effect of restraint; prohibition of transfer; duration. Ajudgment debtor or obligor
           served with a restraining notice is forbidden to make or suffer any sale, assignment, transfer or
           interference with any property in which he or she has an interest, except as set forth in subdivisions
           (h) and (i) of this section, and except upon direction of the sheriff or pursuant to an order of the
           court, until the judgment or order is satisfied or vacated. A restraining notice served upon a person
           other than the judgment debtor or obligor is effective only if, at the time of service, he or she owes
           a debt to the judgment debtor or obligor or he or she is in the possession or custody of property in
           which he or she knows or has reason to believe the judgment debtor or obligor has an interest, or
           if the judgment creditor or support collection unit has stated in the notice that a specified debt is
           owed by the person served to the judgment debtor or obligor or that the judgment debtor or obligor
           has an interest in specified property in the possession or custody of the person served. All property
           in which the judgment debtor or obligor is known or believed to have an interest then in and
           thereafter coming into the possession or custody of such a person, including any specified in the
           notice, and all debts of such a person, including any specified in the notice, then due and thereafter
           coming due to the judgment debtor or obligor, shall be subject to the notice except as set forth in


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            subdivisions (h) and (i) of this section. Such a person is forbidden to make or suffer any sale,
            assignment or transfer of, or any interference with, any such property, or pay over or otherwise
            dispose of any such debt, to any person other than the sheriff or the support collection unit, except
            as set forth in subdivisions (h) and (i) of this section, and except upon direction of the sheriff or
            pursuant to an order of the court, until the expiration of one year after the notice is served upon
            him or her, or until the judgment or order is satisfied or vacated, whichever event first occurs. A
            judgment creditor or support collection unit which has specified personal property or debt in a
            restraining notice shall be liable to the owner of the property or the person to whom the debt is
            owed, if other than the judgment debtor or obligor, for any damages sustained by reason of the
            restraint. If a garnishee served with a restraining notice withholds the payment of money belonging
            or owed to the judgment debtor or obligor in an amount equal to twice the amount due on the
            judgment or order, the restraining notice is not effective as to other property or money.


             Dated: August 5, 2024
             New York, New York

             John Langford
             Rachel Goodman                                        M. Annie Houghton-Larsen
             UNITED TO PROTECT DEMOCRACY                           WILLKIE FARR & GALLAGHER LLP
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                                   Attorneys for Plaintiffs Ruby Freeman and Wandrea' Moss




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                                     IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF NEW YORK


            RUBY FREEMAN and WANDREA' MOSS,

                                                Plaintiffs,                           No. 24-mc-353

             v.                                                          QUESTIONS IN CONNECTION WITH
                                                                           INFORMATION SUBPOENA TO
             RUDOLPH W. GIULIANI,                                                MARIA RYAN

                                                Defendant.


             To:      Maria Ryan
                      418 Walnut Street
                      Manchester, NH 03104-2543

                                                         INSTRUCTIONS
                      This information subpoena seeks information during the period beginning December 1,

             2020 through the present, unless some other time period is specified in a particular request. For

             purposes of this information subpoena, the term "Judgment Debtor" means Rudolph W. Giuliani.

             The term "Giuliani Affiliated Entities" includes Giuliani Communications LLC, Giuliani Partners

             LLC, Giuliani Security & Safety, LLC, Giuliani Group, LLC, Giuliani & Company LLC, Rudolph

             W. Giuliani PLLC, WorldCapital Payroll Corporation, and any other entity in which you have

             reason to believe the Judgment Debtor has an interest, including any trust established by the

             Judgment Debtor or for the Judgment Debtor's benefit. The terms "you," "yourself," and "your"

             include you and any individual or entity acting on your behalf or in concert with you.

                                                              REQUESTS

                       1.      State the amount of funds or property being held pursuant to the Restraining Notice

              served herewith.




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                     2.      Identify with specificity any property in your possession, custody, or control in

            which the Judgment Debtor or any Giuliani Affiliated Entity has an interest, the nature of such

            interest, and the approximate value of such property.

                     3.       Identify with specificity any financial accounts as to which you have ever shared

             ownership or control with the Judgment Debtor or any Giuliani Affiliated Entity, whether jointly,

             in trust, as trustee, as custodian, as nominee, as a beneficiary, and the dates that such ownership or

             control over such accounts was shared. As to each such account, list the financial institution at

             which the account is held, the exact name on the account, the date the account was opened, the

             account number, the names of the signatories on the account and the amount presently on deposit

             or, if closed, the amount on deposit when the account was closed.

                     4.       Other than any accounts specified in response to the preceding question, are you

             aware of any financial account in which the Judgment Debtor or any Giuliani Affiliated Entity has

             an interest? Specify any such account, date the account was opened, the account number, the names

             of the signatories on the account, the amount on deposit, and the source of your knowledge of the

             foregoing information.

                      5.      Are you aware of any interest of the Judgment Debtor, whether direct or indirect,

             in any corporation, partnership, company, or other entity, other than Giuliani Communications

             LLC, Giuliani Partners LLC, Giuliani Security & Safety, LLC, Giuliani Group, LLC, Giuliani &

             Company LLC, Rudolph W. Giuliani PLLC, WorldCapital Payroll Corporation? If so, state the

             nature of such interest and the source of your knowledge.

                      6.      Are you aware of any trust either created or settled by the Judgment Debtor (or a

             Giuliani Affiliated Entity) or for the Judgment Debtor's benefit? If so, state the name of such trust,

             the name of all trustees, the date of creation, the law of organization, the location of the trust, the




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            nature and value of any trust property, and the location of any trust property including the financial

            institution or other custodian by whom such property is held.

                     7.       Identify any transfer of money (including in the form of salary, consulting fees,

            profit distribution, or otherwise), leases, deeds, securities, intangibles, receivables, or other

             property from the Judgment Debtor or any Giuliani Affiliated Entity to you, including (i) the

             identity of the property transferred, (ii) where applicable, amounts transferred, (iii) the date of each

             transfer and (iv) the consideration, if any, given in exchange for each transfer. Where the transfer

             was to or from an account at a bank, securities brokerage firm, or other financial institution, please

             set forth the name and address of the institution and the name and number on the account(s) from

             which and/or to which the transfer was made.

                     8.       List any and all gifts given to you by the Judgment Debtor and the approximate

             value of each of those gifts and the dates the gifts were received and the current location and

             ownership of those gifts.

                      9.      Identify any debt owed by you to the Judgment Debtor or any Giuliani Affiliated

             Entity or any other entity in which the Judgment Debtor or a Giuliani Affiliated Entity has an

             interest. For each such debt, state the amount of the debt, the entity or individual to which the debt

             is owed, the nature of the debt, whether the debt is secured and if so by what collateral, and the

             terms of any agreement giving rise to the debt including: the interest rate, if any, the maturity date,

             if any, the repayment schedule, if any, and the amounts repaid, if any.

                      10.     Do you have personal or professional access to any account in the name of the

             Judgment Debtor or any Giuliani Affiliated Entity, or any other entity in which the Judgment

             Debtor may have an interest, whether under the name of such entity, under a trade or corporate

             name, or in association with others? As to each such account, list the financial institution at which




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            the account is held, the exact name on the account, the date the account was opened, the account

            number, the names of the signatories on the account and the amount presently on deposit or, if

            closed, the amount on deposit when the account was closed.

                     11.      Have you ever received a statement of the financial condition of the Judgment

            Debtor or any Giuliani Affiliated Entity? What assets are disclosed therein (or in the alternative

             supply a copy thereof)?

                     12.      Do you have documents relating to any other entity controlled by or established for

             the benefit of the Judgment Debtor including but not limited to a trust or a political action

             committee? What information is contained therein (or in the alternative supply a copy thereof)?

                     13.      Identify with specificity any assets, including real or personal property, whether in

             the United States or any other country, you have ever shared with the Judgment Debtor or any

             Giuliani Affiliated Entity, whether jointly, in trust, as custodian, as nominee, or as a beneficiary,

             the dates those assets were shared, the reason the assets ceased being shared, and the disposition

             of those assets.

                      14.       List any bank accounts, brokerage accounts, investment accounts, checking

             accounts, credit card accounts, and all other accounts, whether in the United States or any other

             country, of the Judgment Debtor or any Giuliani Affiliated Entity contained in your records,

             including all accounts on which the Judgment Debtor is a signatory or authorized user. Set forth

             the names and addresses of all the individuals who assisted or participated in providing information

             for, or formulating responses to, this Information Subpoena.

                      15.       Have you provided the Judgment Debtor with a benefit, monetary or non-monetary,

             worth in excess of $250? If so, please list the benefit, the date give, the reason given, and the

             approximate amount the benefit is worth.




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            Maria Ryan - Responses to information subpoena.
            # 1 - None.
            # 2 - None.
            # 3 - None. I have never shared any financial accounts with Rudolph Giuliani or any
            Giuliani Affiliated Entity, except that I am the manager of Standard USA LLC, of which I
            own 10% of the membership interests in; Theodore Goodman owns 2% of the
            membership interests in; and Rudolph Giuliani owns 88% of the membership interests
            in.
            # 4 – I am aware that Rudolph Giuliani has bank accounts at Citibank in New York City
            (account numbers unknown) and Bellwether Community Credit Union in New
            Hampshire (account numbers unknown).
            # 5 – Yes. I am aware that Rudolph Giuliani has an interest in Standard USA LLC. I am
            the manager of Standard USA LLC, of which I own 10% of the membership interests in;
            Theodore Goodman owns 2% of the membership interests in; and Rudolph Giuliani
            owns 88% of the membership interests in.
            # 6 – I am not aware of any trust either created or settled by Rudolph Giuliani, or for
            Rudolph Giuliani’s benefit. I am aware of a Giuliani Freedom Fund Legal Defense T.R.
            Fund that was established by third parties for the benefit of Rudolph Giuliani’s legal
            fees. I have no knowledge of the account number or bank for any such legal defense
            fund.
            # 7 – None.
            # 8 – None.
            # 9 – None.
            # 10 – With permission from Rudolph Giuliani, I have access to Rudolph Giuliani’s log in
            information for his Citibank accounts. I have access to the bank account of Standard
            USA LLC, as the manager of Standard USA LLC at IThink Financial Credit Union,
            Business savings account number 0700216850-S0400 and business checking account
            number 0700216850-S0500.
            #11 – No.
            # 12 – No, other than as stated in response # 6.
            # 13 – None.
            # 14 – The following are bank accounts of Rudolph Giuliani that I am aware of: Citibank
            accounts and Bellwether Community Credit Union Accounts. I prepared the responses
            based on my personal knowledge.
            # 15 – No.
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            I declare under penalty of perjury that the foregoing is true and correct, to the best of my
            knowledge information and belief.

            Dated: November 21, 2024                         ____________________________________
                                                                  Maria Ryan
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                                     IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF NEW YORK


             RUBY FREEMAN and W ANDREA' MOSS,

                                               Plaintiffs,                             No. 24-mc-353

             v.                                                            INFORMATION SUBPOENA
                                                                          WITH RESTRAINING NOTICE
             RUDOLPH W. GIULIANI,                                      PURSUANT TO CPLR §§ 5222 AND 5224
                                               Defendant.


             To:     Ted Goodman
                     710 12th Street S Apt 2422
                     Arlington, VA 22202

                     WHEREAS, on December 18, 2023, in an action in the United States District Court for

             the District of Columbia, between Ruby Freeman and Wandrea' ArShaye Moss, plaintiffs

             ("Judgment Creditors"), and Rudolph W. Giuliani, defendant ("Judgment Debtor"), a judgment

             (the "Judgment") was entered in favor of Ruby Freeman and Wandrea' ArShaye Moss against

             Rudolph W. Giuliani for the sum of $146,206,113.00 plus post-judgment interest, to wit:

             $145,969,000.00, together with interest at the rate of 5.01 % per annum from December 18, 2023;

             $89,172.50, together with interest at the rate of 5.33% per annum from July 25, 2023; $43,684.00,

             together with interest at the rate of 5.42% per annum from September 20, 2023; and $104,256.50,

             together with interest at the rate of 5.46% per annum from October 6, 2023;

                     WHEREAS, the sum of $146,206,113.00 and interest is still due to satisfy that Judgment;

                     WHEREAS, a certified copy of the Judgment was registered in the United States District

             Court for the Southern District of New York pursuant to 28 U.S.C. § 1963 which provides that a

             "judgment so registered shall have the same effect as a judgment of the district court of the district

             where registered and may be enforced in like manner";
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                     WHEREAS, the provisions of Article 52 of the New York Civil Practice Law and Rules

             ("CPLR") are applicable to the above-captioned proceeding pursuant to Federal Rule of Civil

             Procedure 69(a);

                     NOW, THEREFORE WE COMMAND YOU, pursuant to CPLR 5224(a)(3), that you

             answer in writing under oath, separately and fully, each question in the questionnaire

             accompanying the subpoena, each answer referring to the question to which it responds; and that

             you return the answers together with the original questions within 7 days of your receipt of the

             questions and this subpoena.

                     TAKE FURTHER NOTICE, that false swearing or failure to comply with this subpoena

             is punishable as a contempt of court.

                                                CPLR 5224(a)(3)(i) Certification

                  I HEREBY CERTIFY THAT THIS INFORMATION SUBPOENA COMPLIES WITH
             RULE 5224 OF THE CIVIL PRACTICE LAW AND RULES AND SECTION 601 OF THE
             GENERAL BUSINESS LAW THAT I HAVE A REASONABLE BELIEF THAT THE PARTY
             RECEIVING THIS SUBPOENA HAS IN THEIR POSSESSION INFORMATION ABOUT THE
             DEBTOR THAT WILL ASSIST THE CREDITOR IN COLLECTING THE JUDGMENT.

                                                     [Signature Page Follows]




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             Dated: August 5, 2024
             New York, New York

             John Langford
                                                                                            -
             Rachel Goodman                                       M. Annie Houghton-Larsen
             UNITED TO PROTECT DEMOCRACY                          WILLKIE FARR & GALLAGHER LLP
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             New York, NY 10038                                   New York, NY 10019
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             john.langford@protectdemocracy.org                   anathan@willkie.com
             rachel.goodman@protectdemocracy.org                  mhoughton-larsen@willkie.com

             Von DuBose                                           Michael J. Gottlieb
             DUBOSE MILLER LLC                                    Meryl C. Governski
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             dubose@dubosemiller.com                              Washington, DC 20006
                                                                  Tel: (202) 303-1000
                                                                  mgottlieb@willkie.com
                                                                  mgovernski@willkie.com


                                  Attorneys for Plaintiffs Ruby Freeman and Wandrea' Moss




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                                                   RESTRAINING NOTICE

                     WHEREAS, you may be in possession of property in which the Judgment Debtor has an

            interest;

                     TAKE NOTICE, that, pursuant to subdivision (b) of Section 5222 of the Civil Practice

            Law and Rules, which is set forth in full herein, you are hereby forbidden to make or suffer any

            sale, assignment or transfer of, or any interference with, any such property or pay over or otherwise

            dispose of any such property, except upon direction of the sheriff or pursuant to an order of the

            court, until the judgment or order is satisfied or vacated; and

                     TAKE FURTHER NOTICE, that this restraining notice covers ALL PROPERTY in

            your possession or custody in which you know or have reason to believe the judgment debtor has

             an interest, and all such property hereafter coming into your custody or possession, and all debts

             due from you to the judgment debtor and hereafter coming due from you to the judgment debtor;

             and

                     TAKE FURTHER NOTICE, that failure to comply with this restraining notice is

             punishable as a contempt of court.

                                           CIVIL PRACTICE LAW AND RULES

             Section 5222(b) Effect of restraint; prohibition of transfer; duration. A judgment debtor or obligor
             served with a restraining notice is forbidden to make or suffer any sale, assignment, transfer or
             interference with any property in which he or she has an interest, except as set forth in subdivisions
             (h) and (i) of this section, and except upon direction of the sheriff or pursuant to an order of the
             court, until the judgment or order is satisfied or vacated. A restraining notice served upon a person
             other than the judgment debtor or obligor is effective only if, at the time of service, he or she owes
             a debt to the judgment debtor or obligor or he or she is in the possession or custody of property in
             which he or she knows or has reason to believe the judgment debtor or obligor has an interest, or
             if the judgment creditor or support collection unit has stated in the notice that a specified debt is
             owed by the person served to the judgment debtor or obligor or that the judgment debtor or obligor
             has an interest in specified property in the possession or custody of the person served. All property
             in which the judgment debtor or obligor is known or believed to have an interest then in and
             thereafter coming into the possession or custody of such a person, including any specified in the
             notice, and all debts of such a person, including any specified in the notice, then due and thereafter
             coming due to the judgment debtor or obligor, shall be subject to the notice except as set forth in


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            subdivisions (h) and (i) of this section. Such a person is forbidden to make or suffer any sale,
            assignment or transfer of, or any interference with, any such property, or pay over or otherwise
            dispose of any such debt, to any person other than the sheriff or the support collection unit, except
            as set forth in subdivisions (h) and (i) of this section, and except upon direction of the sheriff or
            pursuant to an order of the court, until the expiration of one year after the notice is served upon
            him or her, or until the judgment or order is satisfied or vacated, whichever event first occurs. A
            judgment creditor or support collection unit which has specified personal property or debt in a
            restraining notice shall be liable to the owner of the property or the person to whom the debt is
            owed, if other than the judgment debtor or obligor, for any damages sustained by reason of the
            restraint. If a garnishee served with a restraining notice withholds the payment of money belonging
            or owed to the judgment debtor or obligor in an amount equal to twice the amount due on the
            judgment or order, the restraining notice is not effective as to other property or money.


             Dated: August 5, 2024
             New York, New York

             John Langford                                            onRNath        '
             Rachel Goodman                                       M. Annie Houghton-Larsen
             UNITED TO PROTECT DEMOCRACY                          WILLKIE FARR & GALLAGHER LLP
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             VonDuBose                                            Michael J. Gottlieb
             DUBOSE MILLER LLC                                    Meryl C. Governski
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                                  Attorneys for Plaintiffs Ruby Freeman and Wandrea' Moss




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                                     IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF NEW YORK


            RUBY FREEMAN and WANDREA' MOSS,

                                               Plaintiffs,                           No. 24-mc-353

            V.                                                          QUESTIONS IN CONNECTION WITH
                                                                        INFORMATION SUBPOENA TO TED
            RUDOLPH W. GIULIANI,                                                  GOODMAN
                                               Defendant.


            To:      Ted Goodman
                     710 12th Street S Apt 2422
                     Arlington, VA 22202

                                                        INSTRUCTIONS
                     This information subpoena seeks information during the period beginning December I,

             2020 through the present, unless some other time period is specified in a particular request. For

             purposes of this information subpoena, the term "Judgment Debtor" means Rudolph W. Giuliani.

             The term "Giuliani Affiliated Entities" includes Giuliani Communications LLC, Giuliani Partners

             LLC, Giuliani Security & Safety, LLC, Giuliani Group, LLC, Giuliani & Company LLC, Rudolph

             W. Giuliani PLLC, WorldCapital Payroll Corporation, and any other entity in which you have

             reason to believe the Judgment Debtor has an interest, including any trust established by the

             Judgment Debtor or for the Judgment Debtor's benefit. The terms "you," "yourself," and "your"

             include you and any individual or entity acting on your behalf or in concert with you.

                                                             REQUESTS

                     1.      State the amount of funds or property being held pursuant to the Restraining Notice

             served herewith.




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                     2.      Identify with specificity any property in your possession, custody, or control in

            which the Judgment Debtor or any Giuliani Affiliated Entity has an interest, the nature of such

            interest, and the approximate value of such property.

                     3.      Identify with specificity any financial accounts as to which you have ever shared

            ownership or control with the Judgment Debtor or any Giuliani Affiliated Entity, whether jointly,

            in trust, as trustee, as custodian, as nominee, as a beneficiary, and the dates that such ownership or

            control over such accounts was shared. As to each such account, list the financial institution at

            which the account is held, the exact name on the account, the date the account was opened, the

            account number, the names of the signatories on the account and the amount presently on deposit

            or, if closed, the amount on deposit when the account was closed.

                     4.      Other than any accounts specified in response to the preceding question, are you

             aware of any financial account in which the Judgment Debtor or any Giuliani Affiliated Entity has

             an interest? Specify any such account, date the account was opened, the account number, the names

             of the signatories on the account, the amount on deposit, and the source of your knowledge of the

             foregoing information.

                     5.      Are you aware of any interest of the Judgment Debtor, whether direct or indirect,

             in any corporation, partnership, company, or other entity, other than Giuliani Communications

             LLC, Giuliani Partners LLC, Giuliani Security & Safety, LLC, Giuliani Group, LLC, Giuliani &

             Company LLC, Rudolph W. Giuliani PLLC, WorldCapital Payroll Corporation? If so, state the

             nature of such interest and the source of your knowledge.

                     6.      Are you aware of any trust either created or settled by the Judgment Debtor (or a

             Giuliani Affiliated Entity) or for the Judgment Debtor's benefit? If so, state the name of such trust,

             the name of all trustees, the date of creation, the law of organization, the location of the trust, the




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            nature and value of any trust property, and the location of any trust property including the financial

            institution or other custodian by whom such property is held.

                     7.      Identify any transfer of money (including in the form of salary, consulting fees,

            profit distribution, or otherwise), leases, deeds, securities, intangibles, receivables, or other

            property from the Judgment Debtor or any Giuliani Affiliated Entity to you, including (i) the

             identity of the property transferred, (ii) where applicable, amounts transferred, (iii) the date of each

             transfer and (iv) the consideration, if any, given in exchange for each transfer. Where the transfer

             was to or from an account at a bank, securities brokerage firm, or other financial institution, please

             set forth the name and address of the institution and the name and number on the account(s) from

             which and/or to which the transfer was made.

                     8.      List any and all gifts given to you by the Judgment Debtor and the approximate

             value of each of those gifts and the dates the gifts were received and the current location and

             ownership of those gifts.

                     9.      Identify any debt owed by you to the Judgment Debtor or any Giuliani Affiliated

             Entity or any other entity in which the Judgment Debtor or a Giuliani Affiliated Entity has an

             interest. For each such debt, state the amount of the debt, the entity or individual to which the debt

             is owed, the nature of the debt, whether the debt is secured and if so by what collateral, and the

             terms of any agreement giving rise to the debt including: the interest rate, if any, the maturity date,

             if any, the repayment schedule, if any, and the amounts repaid, if any.

                     10.     Do you have personal or professional access to any account in the name of the

             Judgment Debtor or any Giuliani Affiliated Entity, or any other entity in which the Judgment

             Debtor may have an interest, whether under the name of such entity, under a trade or corporate

             name, or in association with others? As to each such account, list the financial institution at which




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             the account is held, the exact name on the account, the date the account was opened, the account

             number, the names of the signatories on the account and the amount presently on deposit or, if

             closed, the amount on deposit when the account was closed.

                     11.        Have you ever received a statement of the financial condition of the Judgment

             Debtor or any Giuliani Affiliated Entity? What assets are disclosed therein (or in the alternative

             supply a copy thereof)?

                     12.        Do you have documents relating to any other entity controlled by or established for

             the benefit of the Judgment Debtor including but not limited to a trust or a political action

             committee? What information is contained therein (or in the alternative supply a copy thereof)?

                     13.        Identify with specificity any assets, including real or personal property, whether in

             the United States or any other country, you have ever shared with the Judgment Debtor or any

             Giuliani Affiliated Entity, whether jointly, in trust, as custodian, as nominee, or as a beneficiary,

             the dates those assets were shared, the reason the assets ceased being shared, and the disposition

             of those assets.

                     14.        List any bank accounts, brokerage accounts, investment accounts, checking

             accounts, credit card accounts, and all other accounts, whether in the United States or any other

             country, of the Judgment Debtor or any Giuliani Affiliated Entity contained in your records,

             including all accounts on which the Judgment Debtor is a signatory or authorized user. Set forth

             the names and addresses of all the individuals who assisted or participated in providing information

             for, or formulating responses to, this Information Subpoena.

                     15.        Have you provided the Judgment Debtor with a benefit, monetary or non-monetary,

             worth in excess of $250? If so, please list the benefit, the date give, the reason given, and the

             approximate amount the benefit is worth.




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            Theodore Goodman - Responses to information subpoena.
            # 1 - None.
            # 2 - None.
            # 3 - None.
            # 4 – No.
            # 5 – Yes. I am aware that Rudolph Giuliani has an interest in Standard USA LLC.
            # 6 – I am not aware of any trust either created or settled by Rudolph Giuliani, or for
            Rudolph Giuliani’s benefit. I am aware of a legal defense fund, but have no knowledge
            of any information about that fund.
            # 7 – None, except that I have been paid fees for my services by and for services that I
            provided to Giuliani Communications LLC and Standard USA LLC.
            # 8 – None.
            # 9 – None.
            # 10 – No.
            # 11 – No.
            # 12 – No.
            # 13 – None.
            # 14 – None.
            # 15 – No.
            I declare under penalty of perjury that the foregoing is true and correct, to the best of my
            knowledge information and belief.

            Dated: November 21, 2024                         ____________________________________
                                                                  Theodore Goodman
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                                     IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF NEW YORK


             RUBY FREEMAN and WANDREA' MOSS,

                                               Plaintiffs,                             No. 24-mc-353

             V.                                                            INFORMATION SUBPOENA
                                                                          WITH RESTRAINING NOTICE
             RUDOLPH W. GIULIANI,                                      PURSUANT TO CPLR §§ 5222 AND 5224
                                               Defendant.


             To:     Ryan Medrano
                     1 Irving Place, Office I
                     New York, NY 10003-9701

                     WHEREAS, on December 18, 2023, in an action in the United States District Court for

             the District of Columbia, between Ruby Freeman and Wandrea' ArShaye Moss, plaintiffs

             ("Judgment Creditors"), and Rudolph W. Giuliani, defendant ("Judgment Debtor"), a judgment

             (the "Judgment") was entered in favor of Ruby Freeman and Wandrea' ArShaye Moss against

             Rudolph W. Giuliani for the sum of $146,206,113.00 plus post-judgment interest, to wit:

             $145,969,000.00, together with interest at the rate of 5.01 % per annum from December 18, 2023;

             $89,172.50, together with interest at the rate of 5.33% per annum from July 25, 2023; $43,684.00,

             together with interest at the rate of 5.42% per annum from September 20, 2023; and $104,256.50,

             together with interest at the rate of 5.46% per annum from October 6, 2023;

                     WHEREAS, the sum of $146,206,113.00 and interest is still due to satisfy that Judgment;

                     WHEREAS, a certified copy of the Judgment was registered in the United States District

             Court for the Southern District of New York pursuant to 28 U.S.C. § 1963 which provides that a

             "judgment so registered shall have the same effect as a judgment of the district court of the district

             where registered and may be enforced in like manner";
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                     WHEREAS, the provisions of Article 52 of the New York Civil Practice Law and Rules

             ("CPLR") are applicable to the above-captioned proceeding pursuant to Federal Rule of Civil

             Procedure 69(a);

                     NOW, THEREFORE WE COMMAND YOU, pursuant to CPLR 5224(a)(3), that you

             answer in writing under oath, separately and fully, each question in the questionnaire

             accompanying the subpoena, each answer referring to the question to which it responds; and that

             you return the answers together with the original questions within 7 days of your receipt of the

             questions and this subpoena.

                     TAKE FURTHER NOTICE, that false swearing or failure to comply with this subpoena

             is punishable as a contempt of court.

                                                CPLR 5224(a)(3)(i) Certification

                  I HEREBY CERTIFY THAT THIS INFORMATION SUBPOENA COMPLIES WITH
             RULE 5224 OF THE CIVIL PRACTICE LAW AND RULES AND SECTION 601 OF THE
             GENERAL BUSINESS LAW THAT I HAVE A REASONABLE BELIEF THAT THE PARTY
             RECEIVING THIS SUBPOENA HAS IN THEIR POSSESSION INFORMATION ABOUT THE
             DEBTOR THAT WILL ASSIST THE CREDITOR IN COLLECTING THE JUDGMENT.

                                                     [Signature Page Follows]




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             Dated: August 5, 2024
             New York, New York

             John Langford
             Rachel Goodman
                                                                  ~ffi-----
                                                                  M. Annie Houghton-Larsen
             UNITED TO PROTECT DEMOCRACY                          WlLLKIE FARR & GALLAGHER LLP
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             New York, NY 10038                                   New York, NY 10019
             Tel: (202) 579-4582                                  Tel: (212) 728-8000
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             rachel.goodman@protectdemocracy.org                  mhoughton-larsen@willkie.com

             VonDuBose                                            Michael J. Gottlieb
             DUBOSE MILLER LLC                                    Meryl C. Governski
             75 14th Street NE, Suite 2110                        WlLLKIE FARR & GALLAGHER LLP
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                                  Attorneys for Plaintiffs Ruby Freeman and Wandrea' Moss




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                                                   RESTRAINING NOTICE

                     WHEREAS, you may be in possession of property in which the Judgment Debtor has an

            interest;

                     TAKE NOTICE, that, pursuant to subdivision (b) of Section 5222 of the Civil Practice

            Law and Rules, which is set forth in full herein, you are hereby forbidden to make or suffer any

            sale, assignment or transfer of, or any interference with, any such property or pay over or otherwise

            dispose of any such property, except upon direction of the sheriff or pursuant to an order of the

            court, until the judgment or order is satisfied or vacated; and

                     TAKE FURTHER NOTICE, that this restraining notice covers ALL PROPERTY in

            your possession or custody in which you know or have reason to believe the judgment debtor has

            an interest, and all such property hereafter coming into your custody or possession, and all debts

            due from you to "the judgment debtor and hereafter coming due from you to the judgment debtor;

            and

                     TAKE FURTHER NOTICE, that failure to comply with this restraining notice 1s

            punishable as a contempt of court.

                                            CIVIL PRACTICE LAW AND RULES

            Section 5222(b) Effect of restraint; prohibition of transfer; duration. A judgment debtor or obligor
            served with a restraining notice is forbidden to make or suffer any sale, assignment, transfer or
            interference with any property in which he or she has an interest, except as set forth in subdivisions
            (h) and (i) of this section, and except upon direction of the sheriff or pursuant to an order of the
            court, until the judgment or order is satisfied or vacated. A restraining notice served upon a person
            other than the judgment debtor or obligor is effective only if, at the time of service, he or she owes
            a debt to the judgment debtor or obligor or he or she is in the possession or custody of property in
            which he or she knows or has reason to believe the judgment debtor or obligor has an interest, or
            if the judgment creditor or support collection unit has stated in the notice that a specified debt is
            owed by the person served to the judgment debtor or obligor or that the judgment debtor or obligor
            has an interest in specified property in the possession or custody of the person served. All property
            in which the judgment debtor or obligor is known or believed to have an interest then in and
            thereafter coming into the possession or custody of such a person, including any specified in the
            notice, and all debts of such a person, including any specified in the notice, then due and thereafter
            coming due to the judgment debtor or obligor, shall be subject to the notice except as set forth in


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            subdivisions (h) and (i) of this section. Such a person is forbidden to make or suffer any sale,
            assignment or transfer of, or any interference with, any such property, or pay over or otherwise
            dispose of any such debt, to any person other than the sheriff or the support collection unit, except
            as set forth in subdivisions (h) and (i) of this section, and except upon direction of the sheriff or
            pursuant to an order of the court, until the expiration of one year after the notice is served upon
            him or her, or until the judgment or order is satisfied or vacated, whichever event first occurs. A
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            restraining notice shall be liable to the owner of the property or the person to whom the debt is
            owed, if other than the judgment debtor or obligor, for any damages sustained by reason of the
            restraint. If a garnishee served with a restraining notice withholds the payment of money belonging
            or owed to the judgment debtor or obligor in an amount equal to twice the amount due on the
            judgment or order, the restraining notice is not effective as to other property or money.


             Dated: August 5, 2024
             New York, New York                                                               -
             John Langford                                          aron E. athan •
             Rachel Goodman                                       M. Annie Houghton-Larsen
             UNITED TO PROTECT DEMOCRACY                          WILLKIE FARR & GALLAGHER LLP
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                                  Attorneys for Plaintiffs Ruby Freeman and Wandrea' Moss




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                                     IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF NEW YORK


             RUBY FREEMAN and WANDREA' MOSS,

                                               Plaintiffs,                           No. 24-mc-353

             V.                                                          QUESTIONS IN CONNECTION WITH
                                                                        INFORMATION SUBPOENA TO RYAN
             RUDOLPH W. GIULIANI,                                                  MEDRANO
                                               Defendant.


             To:     Ryan Medrano
                     1 Irving Place, Office 1
                     New York, NY 10003-9701

                                                         INSTRUCTIONS
                     This information subpoena seeks information during the period beginning December 1,

             2020 through the present, unless some other time period is specified in a particular request. For

             purposes of this information subpoena, the term "Judgment Debtor" means Rudolph W. Giuliani.

             The term "Giuliani Affiliated Entities" includes Giuliani Communications LLC, Giuliani Partners

             LLC, Giuliani Security & Safety, LLC, Giuliani Group, LLC, Giuliani & Company LLC, Rudolph

             W. Giuliani PLLC, WorldCapital Payroll Corporation, and any other entity in which you have

             reason to believe the Judgment Debtor has an interest, including any trust established by the

             Judgment Debtor or for the Judgment Debtor's benefit. The terms "you," "yourself," and "your"

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                                                             REQUESTS

                      1.      State the amount of funds or property being held pursuant to the Restraining Notice

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                     2.      Identify with specificity any property in your possession, custody, or control in

            which the Judgment Debtor or any Giuliani Affiliated Entity has an interest, the nature of such

            interest, and the approximate value of such property.

                     3.      Identify with specificity any financial accounts as to which you have ever shared

            ownership or control with the Judgment Debtor or any Giuliani Affiliated Entity, whether jointly,

            in trust, as trustee, as custodian, as nominee, as a beneficiary, and the dates that such ownership or

            control over such accounts was shared. As to each such account, list the financial institution at

            which the account is held, the exact name on the account, the date the account was opened, the

            account number, the names of the signatories on the account and the amount presently on deposit

            or, if closed, the amount on deposit when the account was closed.

                     4.      Other than any accounts specified in response to the preceding question, are you

            aware of any financial account in which the Judgment Debtor or any Giuliani Affiliated Entity has

            an interest? Specify any such account, date the account was opened, the account number, the names

            of the signatories on the account, the amount on deposit, and the source of your knowledge of the

            foregoing information.

                     5.      Are you aware of any interest of the Judgment Debtor, whether direct or indirect,

             in any corporation, partnership, company, or other entity, other than Giuliani Communications

            LLC, Giuliani Partners LLC, Giuliani Security & Safety, LLC, Giuliani Group, LLC, Giuliani &

             Company LLC, Rudolph W. Giuliani PLLC, WorldCapital Payroll Corporation? If so, state the

             nature of such interest and the source of your knowledge.

                     6.       Are you aware of any trust either created or settled by the Judgment Debtor (or a

             Giuliani Affiliated Entity) or for the Judgment Debtor's benefit? If so, state the name of such trust,

             the name of all trustees, the date of creation, the law of organization, the location of the trust, the




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             nature and value of any trust property, and the location of any trust property including the financial

            institution or other custodian by whom such property is held.

                     7.      Identify any transfer of money (including in the form of salary, consulting fees,

             profit distribution, or otherwise), leases, deeds, securities, intangibles, receivables, or other

             property from the Judgment Debtor or any Giuliani Affiliated Entity to you, including (i) the

            identity of the property transferred, (ii) where applicable, amounts transferred, (iii) the date of each

             transfer and (iv) the consideration, if any, given in exchange for each transfer. Where the transfer

             was to or from an account at a bank, securities brokerage firm, or other financial institution, please

             set forth the name and address of the institution and the name and number on the account(s) from

             which and/or to which the transfer was made.

                     8.      List any and all gifts given to you by the Judgment Debtor and the approximate

             value of each of those gifts and the dates the gifts were received and the current location and

             ownership of those gifts.

                     9.       Identify any debt owed by you to the Judgment Debtor or any Giuliani Affiliated

             Entity or any other entity in which the Judgment Debtor or a Giuliani Affiliated Entity has an

             interest. For each such debt, state the amount of the debt, the entity or individual to which the debt

             is owed, the nature of the debt, whether the debt is secured and if so by what collateral, and the

             terms of any agreement giving rise to the debt including: the interest rate, if any, the maturity date,

             if any, the repayment schedule, if any, and the amounts repaid, if any.

                     10.      Do you have personal or professional access to any account in the name of the

             Judgment Debtor or any Giuliani Affiliated Entity, or any other entity in which the Judgment

             Debtor may have an interest, whether under the name of such entity, under a trade or corporate

             name, or in association with others? As to each such account, list the financial institution at which




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            the account is held, the exact name on the account, the date the account was opened, the account

            number, the names of the signatories on the account and the amount presently on deposit or, if

            closed, the amount on deposit when the account was closed.

                     11.     Have you ever received a statement of the financial condition of the Judgment

            Debtor or any Giuliani Affiliated Entity? What assets are disclosed therein (or in the alternative

            supply a copy thereof)?

                     12.     Do you have documents relating to any other entity controlled by or established for

            the benefit of the Judgment Debtor including but not limited to a trust or a political action

            committee? What information is contained therein (or in the alternative supply a copy thereof)?

                     13.        Identify with specificity any assets, including real or personal property, whether in

            the United States or any other country, you have ever shared with the Judgment Debtor or any

            Giuliani Affiliated Entity, whether jointly, in trust, as custodian, as nominee, or as a beneficiary,

             the dates those assets were shared, the reason the assets ceased being shared, and the disposition

             of those assets.

                     14.        List any bank accounts, brokerage accounts, investment accounts, checking

             accounts, credit card accounts, and all other accounts, whether in the United States or any other

             country, of the Judgment Debtor or any Giuliani Affiliated Entity contained in your records,

             including all accounts on which the Judgment Debtor is a signatory or authorized user. Set forth

             the names and addresses of all the individuals who assisted or participated in providing information

             for, or formulating responses to, this Information Subpoena.

                     15.        Have you provided the Judgment Debtor with a benefit, monetary or non-monetary,

             worth in excess of $250? If so, please list the benefit, the date give, the reason given, and the

             approximate amount the benefit is worth.




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            Ryan Medrano - Responses to information subpoena.
            # 1 - None.
            # 2 - None.
            # 3 - None. I have never shared any financial accounts with Rudolph Giuliani or any
            Giuliani Affiliated Entity.
            # 4 – Yes. I am aware that Rudolph Giuliani has bank accounts at Citibank (account
            numbers unknown) and Bellwether Community Credit Union in New Hampshire
            (account numbers unknown).
            # 5 – Yes. I am aware that Rudolph Giuliani has an interest in Standard USA LLC.
            # 6 – I am not aware of any trust either created or settled by Rudolph Giuliani, or for
            Rudolph Giuliani’s benefit. I am aware of a legal defense fund, but have no knowledge
            of any information about that fund.
            # 7 – None, except that since 2020, I have been paid for bookkeeping services from
            Giuliani Communications LLC, Giuliani Partners LLC, and Standard USA LLC.
            # 8 – None.
            # 9 – None.
            # 10 – I formerly had access to the Parkside Financial Bank & Trust account held by
            Giuliani Communications LLC, but that account was closed. I do not have knowledge of
            the date when the Parkside Financial Bank & Trust account was opened. I also have
            access to the bank account of Standard USA LLC held at IThink Financial Credit Union,
            Business savings account number 0700216850-S0400 and business checking account
            number 0700216850-S0500. I believe that the bank accounts at IThink Financial Credit
            Union were established on September 27, 2024.
            # 11 – No, I have never received a statement of the financial condition of Rudolph
            Giuliani or any Giuliani Affiliated Entity.
            # 12 – No.
            # 13 – No.
            # 14 – I was aware of bank accounts in the name of Giuliani Communications LLC
            which were at Parkside Financial Bank & Trust, Signature Bank, Flagstar Bank which
            have all been closed. I am aware of the following are bank accounts of Rudolph
            Giuliani that I am aware of: Citibank, Account # 6791895812, Account # 67818958,
            Account # 41429639, Retirement Account ending in 1677, Bellwether Community Credit
            Union Account # 269163-1050, Account # 269163-0100 and Account # 269163-1080. I
            prepared the responses based on my personal knowledge. I was aware of bank
            accounts in the name of Giuliani Partners LLC, Giuliani Security & Security LLC,
            Giuliani Communications LLC, WorldCapital Payroll Corp. at Flagstar Bank (formerly
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            Signature Bank), but the bank closed that account. The bank accounts were closed by
            Flagstar Bank because I was told that they did not want to have any accounts of
            Rudolph Giuliani or any entity related to him once Flagstar Bank took over the accounts
            that were formerly at Signature Bank, New York.
            # 15 – No.
            I declare under penalty of perjury that the foregoing is true and correct, to the best of my
            knowledge information and belief.

            Dated: November 21, 2024                         ____________________________________
                                                                  Ryan Medrano
